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                        Exhibit A
                        Service of Process
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                        Information Sheet
     1. Date Processed:
 Date Served                                :   06/14/2022 11:50 AM CST

    2. CC Recipients:
 Company  Name                              :   NEW ERA ADR, INC.


     3. Entity Name:
 State                                      :   Delaware

 Entity ID                                  :   3331244
     4. Entity ID:

 SOP Classification                         :   Record Request
     5. Domestic State (where appropriate):
 Court/Agency                               :   United States District Court For The Central District Of California
     6. Entity Served:
 Document Type                              :   Subpoena

     7. Title of Action:
 Nature of Action                           :   Civil

    8. Nature of Number
 Case/Reference  Action:                    :   22-Cv-00047-Gw-Gjs


 How9.Served
       Document Type:                       :   In Person


 ServedCourt/Agency:
        By / Plaintiff                      :   Skot Heckman, Et Al.


        Case/Reference Number:


        Jurisdiction Served:


        Date Served:


        Answer or Appearance Due:


        How Served:


        Sender Information:


        First Plainti Named:


Disclaimer: We are not legal professionals and as a result, all information should be reviewed by legal counsel.
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